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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 MICHAEL J. POWERS, JASMINE WOODS,                     )
 KEITH ROS_E, MICHAEL LHOTAK,                          )
 And UMAR LEE,                                         )
                                                       )
        Plaintiffs,                                    )
                                                       )
 vs.                                                   )       Case No.        4:16-cv-1299 RWS
                                                       )
 CITY OF FERGUSON, et al.,

        Defendants.                                    I ~~c
                                 STIPULATION OF DISMISSAL
                                      WITH PREJUDICE

        Pursuant to Fed R. Civ. P. 41(a)(l) Plaintiffs Michael J. Powers, Jasmine Woods, Keith

 Rose, Michael Lhotak, and Umar Lee hereby stipulate to the dismissal with prejudice of all

 claims against Defendants City of Ferguson, Tim Harris, Sean Gibbons and the John Doe

 Defendants. This dismissal resolves all claims against all parties. · Parties to bear their own costs.

 Dated: August 13, 2018

                                                                DOWD & DOWD, P.C.

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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the above pleading was served via this
 Court's electronic filing system on all counsel of record this 13th day of August, 2018.



                                                            Isl Douglas P. Dowd
